Case 2:05-cV-02213-SHI\/|-STA Document 29 Filed 06/02/05 Page 1 of 3 Page|D 23

w (izf.. o.c.

   

 

iN THE UNITED sTATEs DisTRICT CoURr F"'ED iii ~
FOR THE WESTERN DisTRicT oF TENNESSEE _ _ _
WESTERN DrvlsioN 95 JUH 2 H 3‘ 55
ceases n :.“-=. memo
cizzza:§. usa nasa c'r.
CHERYL AUTlN, CARoL DrFFEE, and W'D» W “"*’ WMPH'S

ABIGAIL GIVHAN, On Behalf of
Themselves and All Others
Similarly Situated,

Plaintifl`s,
VS. NO, 05-2213-Ma/An

SOLVAY PHARl\/IACEUTICALS, INC.,
and HAROLD H. SHELVIN, Ph.D.,

Defendants.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the June l, 2005 motion for admission pro hac vi ce of J ames D. Robenalt.
Mr. Robenalt is a member in good standing of the bar of the State of Ohio and is admitted to practice
before the United States District Court for the Northern District of Ohio. Mr. Robenalt has obtained
and is familiar with the local rules and professional guidelines of this court.

For good cause shown, the motion is granted and J ames D. Robenalt is admitted to
participate in this action as counsel for Defcndant Solvay Pharmaceuticals, lnc.

rt is so oRDERED this l"i’day ofJune, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance
with Rule 53 and/or 79(a) FP.CP on '

 

   

UNTED TATES DISTRICT COURT - WESTERN DTISICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CV-02213 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listedl

 

 

Patrick J. Mu11igan

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turt1e Creek Blvd.

Ste. 900

Dallas, TX 75219

EIiZabeth T. CoIlins

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Reid SteWart

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turt1e Creek Blvd.

Ste. 900

Dallas, TX 75219

DeWitt 1\/1. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Andrew S. Johnston

1\/[[NOR & JOHNSTON7 P.C.
124 East Market P1ace
SomervilIe, TN 38068

Nicole K. Wi1son
THOl\/[PSON H[NE LLP
127 Public Square

Ste. 3900 Key Center
CIe\/eland7 OH 441 14

Eric N. Roberson

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turt1e Creek Blvd.

Ste. 900

Dallas, TX 75219

Case 2:05-cV-O2213-SHI\/|-STA Document 29 Filed 06/02/05 Page 3 of 3 Page|D 25

Michae] L. Hardy

THOl\/[PSON H[NE & FLORY LLP
127 Public Square

CIe\/eland7 OH 441 14

John S. WiIder

WILDER & SANDERS
108 E. Court Square
SomervilIe, TN 38068--143

Michae] E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Frank B. Thacher

BURCH PORTER & JOHNSON PLLC
130 N. Court Ave.

1\/1emphis7 TN 38103

J ames S. RobenaIt
THOl\/[PSON H[NE LLP
127 Public Square

Ste. 3900 Key Center
CIe\/eland7 OH 441 14

Jason H. FoX

LAW OFFICE OF PATRICK J. MULLIGAN, P.C.
2911 Turt1e Creek Blvd.

Ste. 900

Dallas, TX 36068

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

